Case 1:16-cr-00259-JKB Document 15 Filed 08/17/16 Page 1of3

 

KSC: USAQ#2015R0688 ; DiS r He i
Ie iy yo onfine
x IN rile UNITED: ‘SPATES. DISTRICT COURT
R FOR THE DISTRICT OF MARYLAND
UU HUN | f PH be: 13
sf" q\le UNITED STATES OF AMERIGA- ~ nee * UNDER SEAL
VPBRUTIGRES
Vv. aay * CRIMINAL NO. JKB-16-0259
i OS PUT .
« ELMIN IVAN PORTILLO- GUITERREZ, * (Conspiracy to Commit a Violent
aka Blue, * Crime in Aid of Racketeering, 18
ELVIN ULISES DIAZ HERNANDEZ, * U.S.C, § 1959(a)(6); Committing a
aka Sonpopo, * Violent Crime in Aid of
JUAN ENRIQUE DOMINGUEZ LOPEZ, * Racketeering, 18 U.S.C. § 1959(a}(2),
aka Goofy, * (3), 18 U.S.C. § 2)
*
Defendants. *
*

we oe *& & * & & & #* &# kK ke *

SUPERSEDING INDICTMENT
COUNT ONE
Conspiracy to Commit An Assault with a Dangerous Weapon

The Grand Jury for the District of Maryland charges that:

At all times relevant to this Superseding Indictment:

1. The defendants, ELMIN IVAN PORTILLO-GUITERREZ, ELVIN ULISES
DIAZ HERNANDEZ, and JUAN ENRIQUE DOMINGUEZ LOPEZ, together with other
persons, known and unknown to the grand jury, were members and associates of a criminal
organization, that is the MS-13 street gang. MS-13, including its leaders, members, and
associates, constituted an enterprise, as defined in Title 18, United States Code, Section
1959(b)(2), that is a group of individuals associated in fact that engaged in, and the activities of
which affected interstate and foreign commerce. The enterprise constituted an ongoing

organization whose members functioned as a continuing unit for a common purpose of achieving
Case 1:16-cr-00259-JKB Document 15 Filed 08/17/16 Page 2 of 3

the objectives of the enterprise. A primary purpose of the enterprise was to earn money for its
members and associates through drug sales and extortion of local brothels and beer houses.

2. The above-described enterprise, MS-13, through its members and associates,
engaged in racketeering activity as defined in Title 18, United States Code, Sections 1959(b)(1)
and 1961(1), namely, acts involving narcotics trafficking in violation of Title 21, United States
Code, Sections 841 and 846, acts indictable under Section 1951 (extortion), of Title 18, United
States Code, and acts involving extortion in violation of Maryland Md. Code Ann. Crim. Law §
3-701,

3. On or about August 28, 2015, in the State and District of Maryland, as
consideration for the receipt of, and as consideration for a promise and an agreement to pay,
anything of pecuniary value from MS-13, and for the purpose of gaining entrance to and
maintaining and increasing position in MS-13, an enterprise engaged in racketeering activity,

ELMIN IVAN PORTILLO GUITERREZ,

a/k/a Blue,
ELVIN ULISES DIAZ HERNANDEZ,
a/k/a Sonpopo, and
JUAN ENRIQUE DOMINGUEZ LOPEZ,
a/k/a Goofy,

the defendants herein, and others known and unknown, unlawfully and knowingly conspired to
maim, assault with a dangerous weapon, and assault resulting in serious bodily injury, William

Chacon-Dimas, in violation of Maryland common law and Md. Code Ann. Crim. Law § 3-202.

18 U.S.C. § 1959(a)(6)

 
Case 1:16-cr-00259-JKB Document 15 Filed 08/17/16 Page 3 of 3

COUNT TWO
Maiming and Assault with a Dangerous Weapon Resulting in Serious Bodily Injury

The Grand Jury for the District of Maryland further charges that:

4, Paragraphs 1-2 of Count One of this Superseding Indictment are realleged and
incorporated by reference as though fully set forth herein.

5. On or about August 28, 2015, in the State and District of Maryland, as
consideration for the receipt of, and as consideration for a promise and an agreement to pay,
anything of pecuniary value from MS-13, and for the purpose of gaining entrance to and
maintaining and increasing position in MS-13, an enterprise engaged in racketeering activity,

ELMIN IVAN PORTILLO GUITERREZ,
a/k/a Blue,
ELVIN ULISES DIAZ HERNANDEZ,
a/k/a Sonpopo, and |
JUAN ENRIQUE DOMINGUEZ LOPEZ,
a/k/a Goofy,
the defendants herein, unlawfully and knowingly maimed, assaulted with a dangerous weapon,
and assaulted resulting in the serious bodily injury, and aided and abetted the maiming, assault
with a dangerous weapon, and assault resulting in serious bodily injury of William Chacon-

Dimas, in violation of Maryland common law and Md. Code Ann. Crim, Law § 3-202.

18 U.S.C. § 1959(a)(2) and (3)

 

18 U.S.C, §2
“RED fos STAY { ap
ROD J. ROSENSTEIN {
United States Attorney

A TRUE BILL:

 

_SIGNATURE REDACTED (7. fuouse 201

Foreperson Date:
